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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff(s),              CASE NUMBER: 06-20185
                                                HONORABLE VICTORIA A. ROBERTS
 v.

 ROY CHRISTOPHER WEST,
 MICHAEL ELDREN BRACEY,
 ALSEDDRICK DEWUNN WEST,

                     Defendant(s).
                                                     /

                                         ORDER

       This matter is before the Court on Defendant Alseddrick Dewunn West’s “Motion

 for Discovery of Unredacted Copies of Affidavits in Support of Order Authorizing

 Electronic Surveillance; for Discovery of Records of Surveillance Minimization, Such as

 Title III Line Sheets and Progress Reports; for Discovery of Orders and Supporting

 Documentation Authorizing Pen Register Surveillance; and for Discovery of Records of

 Pen Register Surveillance.” (Doc. #149). Co-Defendants Roy Christopher West and

 Michael Eldren Bracey (“Bracey”) concur in the motion.

       Defendants request an order compelling the Government to provide defense

 counsel:

       (1)    unredacted copies of the three affidavits submitted to obtain
              Tracking Order No. 04US00096-P authorizing electronic wiretap
              surveillance of telephone number 313-215-5940.

       (2)    copies of the Orders authorizing the pen register surveillance of
              telephone number 313-215-5940 and the supporting documents
              submitted by the Government to obtain such Orders.

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        (3)    the records from the pen register surveillance of telephone number
               313-215-5940.

        Defendants also requested the Title III Line Sheets and Progress Reports that

 show the Government’s efforts to minimize the intrusion of the electronic surveillance.

 In their Reply, Defendants concede that the Government provided that information

 during discovery.

        Defendants’ motion is GRANTED IN PART AND DENIED IN PART.

 II.    BACKGROUND

        On November 4, 2005, the Government submitted an Application for

 authorization to intercept wire communications to and from telephone number 313-215-

 5940. The Government believed there was probable cause to believe Bracey, co-

 Defendant Alvino Dewight Cornelius (“Cornelius”), and others yet unknown have

 committed, are committing, and will commit offenses involving the importation,

 procurement, concealment, transportation, distribution and sale of narcotics, in violation

 of 21 U.S.C. §§ 841(a)(1), 843(b), and 846.

        The Affidavit submitted in support of the Application and used to establish

 probable cause and investigative necessity for the issuance of the wiretap authorization,

 contains a section called “Toll Record/Pen Register Analysis.” This section says pen

 register surveillance was initiated on telephone number 313-215-5940 on September

 21, 2005 pursuant to an Order signed on September 12, 2005. According to the

 Affidavit: (1) an analysis of toll records and pen register data revealed over 300

 telephone contacts between the co-conspirators and telephone number 313-215-5940

 from March 1, 2005 through October 17, 2005; (2) a review of the pen register and toll


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 record data from consensually recorded telephone calls between a confidential source

 and Cornelius verified that the confidential source contacted 313-215-5940; and (3) toll

 records and pen register data from 313-215-5940 show numerous contacts between

 that number and telephone numbers used by unindicted co-conspirators as well as

 telephone number 313-304-7959, used by Bracey.

        It appears drugs, not the murder-for-hire conspiracy, was the focus of the wiretap

 investigation. However, it was during the drug investigation that the alleged murder-for-

 hire conspiracy became known.

        The November 4, 2005 Affidavit incorporates by reference two affidavits

 authorizing the interception of telephone number 313-304-7959.

 III.   APPLICABLE LAW AND ANALYSIS

        A.    Unredacted Copies of the November 4, 2005 Affidavit and the Two
              Affidavits Authorizing the Interception of Telephone Number 313-
              304-7959, which were Submitted to Obtain Tracking Order No.
              04US00096-P Authorizing Electronic Wiretap Surveillance of
              Telephone Number 313-215-5940

        During discovery, the Government provided Defendants redacted copies of the

 November 4, 2005 Affidavit and the affidavits authorizing the interception of telephone

 number 313-304-7959.

        Defendants say they need unredacted copies of the three affidavits so they can

 formulate articulate and meaningful arguments in support of their “Motion to Suppress

 Fruits of Electronic Surveillance Obtained Pursuant to Tracking Order No. 04US00096-

 P, and Request for an Evidentiary Hearing.” According to Defendants, their ability to

 fully formulate and present arguments to the Court regarding the Applications and



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 Affidavits submitted to obtain the authority to intercept wire communications is severely

 handicapped by the redactions. In addition, Defendants say the Government’s

 “extraordinary and unprecedented” desire to keep information secret deprives them of

 due process, the effective assistance of counsel, and the right to a fair trial.

        The Government says the redactions: (1) pertain only to the identities and

 identifying information of unindicted drug traffickers; (2) do not involve individuals who

 participated in the murder-for-hire conspiracy, which is the subject of Defendants’

 Indictment; and (3) do not diminish Defendants’ ability to challenge whether the wiretap

 authorizations were supported by probable cause and investigative necessity. The

 Government relies on United States v. Yoshimura, 831 F.Supp. 799 (D.Hawaii 1993) to

 support its argument that the information may remain redacted.

        In Yoshimura, the Government provided defendant redacted copies of four

 affidavits filed in support of its applications for electronic surveillance. The redactions

 concerned either: (1) the identity of the undercover FBI agent; (2) the telephone number

 and location of the targeted telephone; or (3) the identities of unindicted individuals who

 were not connected with defendant’s charges. According to the Government, if the

 redacted portions were released, the ongoing investigation would be jeopardized, and

 the safety of the undercover FBI agents would be threatened. Yoshimura, 831 F.Supp.

 at 802. Defendant sought disclosure of the redacted portions. Id. at 800.

        The court concluded that the Government could keep the redacted information

 secret because: (1) the Government did not intend to rely upon the redacted excerpts in

 defending probable cause for the electronic surveillance orders; (2) the redacted

 information would not help the Government establish probable cause for the wiretap

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 authorizations; (3) the redacted information was not material to the defense or helpful to

 defense efforts; (4) there was no indication that disclosure or non-disclosure of the

 redacted information would affect the outcome of defendant’s trial; (5) defendant’s right

 to due process was not compromised by non-disclosure; and (6) disclosure would likely

 compromise the Government’s efforts to investigate organized crime. Id. at 806.

        In reaching its conclusions, the court reviewed 18 U.S.C. §§ 2518(8)(b) and

 2518(9). Under §2518(8)(b):

        Applications made and orders granted under this chapter shall be sealed
        by the judge. Custody of the applications and orders shall be wherever
        the judge directs. Such applications and orders shall be disclosed only
        upon a showing of good cause before a judge of competent jurisdiction
        and shall not be destroyed except on order of the issuing or denying
        judge, and in any event shall be kept for ten years.

 Hence, anyone seeking disclosure under §2518(8)(b) has the burden to prove good

 cause exists for disclosure.

        No such “good cause” language is part of §2518(9):

        The contents of any wire, oral, or electronic communication intercepted
        pursuant to this chapter or evidence derived therefrom shall not be
        received in evidence or otherwise disclosed in any trial, hearing, or other
        proceeding in a Federal or State court unless each party, not less than ten
        days before the trial, hearing, or proceeding, has been furnished with a
        copy of the court order, and accompanying application, under which the
        interception was authorized or approved.

 Nonetheless, according to the Yoshimura court, a party’s request for a copy of the court

 order and accompanying application under §2518(9) is subject to the showing of “good

 cause” required by §2518(8)(b). Id. at 804 (citing In re Applications of Kansas City Star,

 666 F.2d 1168, 1176 (8th Cir. 1981)).

        The Court disagrees with Yoshimura that the “good cause” requirement of


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 §2518(8)(b) is imported into §2518(9).

        18 U.S.C. §2518(8)(b) and its “good cause” requirement has application broader

 than just to parties. A judge cannot disclose applications and orders to a broader

 population, if there is no good cause to do so.

        In contrast, 18 U.S.C. §2518(9) applies specifically to parties. When the

 Government intends to use the contents of intercepted wire, oral, or electronic

 communication at trial, parties must receive a copy of the court order and

 accompanying application under which the interception was authorized or approved.

 There is no “good cause” requirement. See United States v. Arreguin, 277 F.Supp.2d

 1057, 1061-62 (E.D.Cal. 2003) (“Worded as an unqualified requirement, it appears that

 § 2518(9) represents a judgment by Congress that the good cause requirement is

 satisfied where the government plans to use evidence derived from a wiretap”).

        The Government intends to use the intercepted wire communications at

 Defendants’ trial. See Government’s Response, ¶11 (agreeing with Defendants that the

 outcome of their motion to suppress the fruits of electronic surveillance could determine

 whether the Government has enough evidence to go to trial). Accordingly, Defendants

 are entitled to unredacted copies of the three affidavits.

        Defendants are not entitled to information pertaining to informants. See United

 States v. Freeman, 2008 WL 879966 at *2-3 (E.D.Pa. March 31, 2008) (allowing the

 Government to redact information from a wiretap application that is protected by the

 informer’s privilege). However, the Government represents that none of the redacted

 information identifies informants in any way.

        Pursuant to 18 U.S.C. §2518(9), the Government must provide Defendants

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 unredacted copies of the November 4, 2005 Affidavit and the two affidavits authorizing

 the interception of telephone number 313-304-7959.

       B.      Pen Register Information and Records

       “A pen register is a device attached to a telephone line which records on paper

 tape the telephone numbers dialed from that line. It also records the number of rings on

 incoming calls, but not the calling numbers. It does not indicate whether outgoing or

 incoming calls are completed and does not record conversations.” United States v.

 Wac, 498 F.2d 1227, 1230 n.a1 (6th Cir. 1974).

       Defendants request: (1) copies of the Orders authorizing the pen register

 surveillance of telephone number 313-215-5940; (2) the supporting documents

 (including affidavits) submitted by the Government to obtain such Orders; and (3) the

 records from the pen register surveillance (i.e., the list of telephone numbers recorded

 in the pen register from telephone number 313-215-5940).

       Fed. R. Crim. P. 16(a)(1)(E) says:

       Upon a defendant’s request, the government must permit the defendant to
       inspect and to copy or photograph books, papers, documents, data,
       photographs, tangible objects, buildings or places, or copies or portions of
       any of these items, if the item is within the government’s possession,
       custody, or control and:

       (i)     the item is material to preparing the defense;

       (ii)    the government intends to use the item in its case-in-chief at trial;

               or

       (iii)   the item was obtained from or belongs to the defendant.

               1.     Copies of the Orders Authorizing the Pen Register
                      Surveillance of Telephone Number 313-215-5940 and the


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                       Supporting Documents (Including Affidavits) Submitted by the
                       Government for Such Orders

        Defendants say they need copies of the Orders authorizing the pen register

 surveillance of telephone number 313-215-5940 and the supporting documents

 (including affidavits) submitted by the Government for such Orders because they are

 unable to formulate all objections of arguable merit to the November 4, 2005 Affidavit

 without that documentation. Defendants seem to argue that while the Order authorizing

 the pen register surveillance of telephone number 313-215-5940 was not signed until

 September 12, 2005, the surveillance illegally began on March 1, 2005.

        The Government refuses to provide Defendants with that documentation based

 on United States v. Chavez-Chavez, 2008 WL 1847229 (S.D.Cal. April 22, 2008). In

 Chavez-Chavez, the defendants asked the court to compel the Government to provide

 the applications, affidavits, and orders for the pen registers relied upon in the wiretap

 applications. Chavez-Chavez, 2008 WL 1847229 at *3. Defendants contended that the

 applications and orders in support of the pen registers must be produced so they could:

 (1) determine whether the Government complied with the pen register statute, 18 U.S.C.

 §§ 3122 and 3123; and (2) attack the matter of necessity for the wire intercept orders.

 Id.

        The court concluded that defendants did not make a showing of materiality to

 support the requested pen register discovery. In other words, defendants did not show

 that the pen register applications and orders would be helpful to the preparation of the

 defense. Id. at *4.

        In reaching that conclusion, the court relied on Smith v. Maryland, 442 U.S. 735,


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 743-44 (1979) and United States v. Forrester, 512 F.3d 500 (9th Cir. 2008). Smith held

 that the use of a pen register does not constitute a search for Fourth Amendment

 purposes. Forrester held that evidence obtained in violation of the pen register statute

 need not be suppressed because there is no mention of suppression in the statutory

 text. Id.

        The Court finds Defendants are not entitled to copies of the Orders authorizing

 the pen register surveillance or the supporting documents (including affidavits)

 submitted by the Government for such Orders. Contrary to Defendants’ belief, the pen

 register surveillance was not initiated on telephone number 313-215-5940 until

 September 21, 2005. See November 4, 2005 Affidavit, p.22.

        Further, Defendants have not shown how that documentation will assist them in

 preparing their defense.

              2.     The Records from the Pen Register Surveillance (i.e., the List
                     of Telephone Numbers Recorded in the Pen Register from
                     Telephone Number 313-215-5940)

        Defendants say they need the records from the pen register surveillance (i.e., the

 list of telephone numbers recorded in the pen register from telephone number 313-215-

 5940) so they can: (1) determine how many times, if at all, their phone numbers appear

 connected to their co-Defendants; (2) supplement their motion to suppress the wiretap

 evidence; and (2) discover potential Brady material.

        The Government relies on United States v. Persico, 447 F.Supp.2d 213

 (E.D.N.Y. 2006) in support of its argument that Defendants are not entitled to the

 records from the pen register surveillance.

        In Persico, defendants asked the court to compel the Government to produce,

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  inter alia, pen register information. The request was denied because the court found it

  was outside the ambit of Fed. R. Crim. P. 16 and based on conjecture. Persico, 447

  F.Supp.2d at 217. According to the court, the mere claim that the pen register

  information is “material” is not sufficient; “There must be some indication that the pretrial

  disclosure of the [pen register information] would . . . enable [] the defendant

  significantly to alter the quantum of proof in his favor.” Id. at 218 (quoting United States

  v. Maniktala, 934 F.2d 25, 28 (2nd Cir. 1991)).

         Conversely, in United States v. Birdman, 1992 WL 203318 (E.D.Pa. Aug. 14,

  1992), the court required the Government to provide defendant with the list of telephone

  numbers recorded in the pen register so he could ascertain the frequency with which his

  telephone number appears. Birdman, 1992 WL 203318 at *2; see also United States v.

  Shakur, 543 F.Supp. 1059, 1061 (S.D.N.Y. 1982) (requiring the Government to provide

  defendants the results of the pen register devices which will be offered in evidence).

  According to the Birdman court, such information is within the scope of discoverable

  material. Birdman, 1992 WL 203318 at *2 (citations omitted).

         The Court follows Birdman and Shakur; Defendants are entitled to the records

  from the pen register surveillance of telephone number 313-215-5940. If the records

  show that Defendants’ phone numbers are not connected to their co-Defendants as the

  Government claims, that information could help the defense attack the Affidavit

  submitted in support of the Application.

  IV.    CONCLUSION

         Defendants’ motion is GRANTED IN PART AND DENIED IN PART.



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  Defendants’ request for unredacted copies of the three affidavits is GRANTED. On or

  before April 3, 2009, the Government must provide defense counsel and the Court

  unredacted copies of the November 4, 2005 Affidavit and the two affidavits authorizing

  the interception of telephone number 313-304-7959, which were submitted to obtain

  tracking order no. 04US00096-P authorizing electronic wiretap surveillance of telephone

  number 313-215-5940. To alleviate the Government’s concern that disclosure of the

  redacted portions may jeopardize their ongoing investigation, defense counsel may not

  provide the unredacted affidavits to Defendants.

        Defendants’ request for copies of the Orders authorizing the pen register

  surveillance of telephone number 313-215-5940 and the supporting documents

  (including affidavits) submitted by the Government for such Orders is DENIED.

        Defendants’ request for the records from the pen register surveillance (i.e., the

  list of telephone numbers recorded in the pen register from telephone number 313-215-

  5940) is GRANTED. The Government must provide defense counsel and the Court that

  evidence on or before April 3, 2009. Defense counsel may not provide that information

  to Defendants; it may contain phone numbers for confidential informants.

        If necessary, Defendants may supplement their “Motion to Suppress Fruits of

  Electronic Surveillance Obtained Pursuant to Tracking Order No. 04 US00096-P, and

  Request for an Evidentiary Hearing” on or before April 10, 2009. The Government may

  respond on or before April 15, 2009. No reply is permitted.

        The hearing on this motion set for April 30, 2009 is cancelled. See L.R. 7.1(e)(2).




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         IT IS ORDERED.



                                                   S/Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

  Dated: March 31, 2009

   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   March 31, 2009.

   s/Carol A. Pinegar
   Deputy Clerk




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